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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Angel Luis Leon III
                                    Debtor(s)
                                                                                     Chapter 13
PENNSYLVANIA HOUSING FINANCE
AGENCY
                      Movant
          v.                                                                    NO. 22-11018 AMC

Angel Luis Leon III
                                    Debtor(s)
                                                                               11 U.S.C. Section 362
and Scott F. Waterman
                                    Trustee


                                                         ORDER
         AND NOW, this 16th day of January                 , 2024 upon the filing of a Certification of Default by the
Moving Party in accordance with the Stipulation of the parties approved on April 21, 2023, it is ORDERED AND
DECREED that:
         The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay
under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject premises located
at 6162 Montague Street, Philadelphia, PA 19135 (“Property), so as to allow Movant, and its successors or
assignees, to proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in rem
State Court remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially
pursuing other loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-
lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take
any legal action for enforcement of its right to possession of the Property.
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                                United States Bankruptcy Judge.
